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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

JAMES CROW,                                          )
                                                     )
                Petitioner,                          )
                                                     )
        v.                                           )            No. 4:22-CV-1379 AGF
                                                     )
DENISE HACKER,                                       )
                                                     )
                                                     )
                Respondent.                          )

                                  MEMORANDUM AND ORDER

        This matter is before the Court on a handwritten application for writ of habeas corpus

brought pursuant to 28 U.S.C. § 2254 filed by petitioner James Crow, a detainee at the Sexual

Offender Rehabilitation Treatment Center (SORTS). [ECF No. 1]. The petition is defective

because petitioner did not use the Court’s form. See E.D. Mo. L.R. 45 - 2.06(A) (“All actions

brought by pro se petitioners should be filed on Court-provided forms”). Also before the Court is

petitioner’s application to proceed in forma pauperis. [ECF No. 2]. The Court will grant

petitioner’s application to proceed in forma pauperis and waive the filing fee in this action.

        However, petitioner will be required to amend his application for writ on a court-provided

form. 1 Petitioner is directed to fill out the § 2254 form in its entirety and return it to the Court

within thirty (30) days of the date of this order. 2 Failure to comply with the instant Order will result

in the dismissal of this action without prejudice and without further notice.


1
 The Clerk of Court will be directed to send to petitioner a copy of the Court’s 28 U.S.C. § 2254 form.
2
 The Court notes that petitioner has not indicated the grounds under which he is bringing his petition for
writ. Additionally, he has not provided the Court with information relative to exhaustion of his state court
remedies. The Court notes that to the extent petitioner is seeking review of his commitment order, issued
by the Missouri Probate Court on April 21, 2017, his application for writ of habeas corpus appears to be
time-barred. See 28 U.S.C. § 2244(d). Petitioner had one year from the date his judgment became final to
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        Accordingly,

        IT IS HEREBY ORDERED that petitioner’s motion to proceed in forma pauperis [ECF

No. 2] is GRANTED.

        IT IS FURTHER ORDERED that the Clerk of Court shall send to petitioner a copy of

the Court’s 28 U.S.C. § 2254 form.

        IT IS FURTHER ORDERED that petitioner must fill out the 28 U.S.C. § 2254 form and

return it to the Court within thirty (30) days of the date of this order. Petitioner must address the

timeliness of his application for writ on the court form, as well as exhaustion of his state court

remedies (appeal of his commitment order) and all grounds he is seeking for review of his

commitment order.

        IT IS FURTHER ORDERED that if petitioner fails to comply with this order, this action

will be dismissed without prejudice and without further notice.

         Dated this 20th day of January, 2023.



                                                    AUDREY G. FLEISSIG
                                                    UNITED STATES DISTRICT JUDGE




file his federal habeas petition. Although petitioner appears to have filed an appeal of the commitment
order, see In re James Crowe, No. ED105772 (Mo.Ct.App.), the order affirming the commitment was
entered on February 19, 2019. Id. The mandate was issued by the Missouri Court of Appeals on April 18,
2019. Petitioner did not sign the instant application for writ of habeas corpus until December 19, 2022.
Thus, his application for writ appears to be over a year and a half late, pursuant to 28 U.S.C. § 2244(d).
Petitioner should address the timeliness of his application for writ on the court form for filing his
amended petition.
                                                    2
